     Case 8:22-bk-10948-SC        Doc 36 Filed 06/10/22 Entered 06/10/22 13:31:40                         Desc
                                   Main Document Page 1 of 3


11   RON BENDER (SBN 143364)
     KRIKOR J. MESHEFEJIAN (SBN 255030)
22   LINDSEY L. SMITH (SBN 265401)                        FILED & ENTERED
33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
     2818 La Cienega Avenue
44   Los Angeles, California 90034                             JUN 10 2022
     Telephone: (310) 229-1234; Facsimile: (310) 229-1244
55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM     CLERK U.S. BANKRUPTCY COURT
                                                                         Central District of California
66   Proposed Attorneys for Chapter 11 Debtors
                                                                         BY mccall     DEPUTY CLERK



77   and Debtors in Possession

88                             UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA
99                                    SANTA ANA DIVISION

10
10   In re:                                           Lead Case No.: 8:22-bk-10948-SC
11
11   TRX HOLDCO, LLC, a Delaware limited              Jointly administered with:
     liability company,                               8:22-bk-10949-SC
12
12
13
13           Debtor and Debtor in Possession.         Chapter 11 Cases
     ____________________________________
14
14   In re:                                           ORDER        GRANTING   FITNESS
                                                      ANYWHERE LLC’S EMERGENCY
15
15   FITNESS ANYWHERE LLC, a Delaware                 MOTION FOR ENTRY OF AN
16   limited liability company, dba TRX and TRX       ORDER AUTHORIZING FITNESS
16
     Training,                                        ANYWHERE LLC TO PROVIDE
17
17                                                    ADEQUATE        ASSURANCE    OF
             Debtor and Debtor in Possession.         FUTURE PAYMENT TO UTILITY
18
18   ____________________________________             COMPANIES PURSUANT TO 11
                                                      U.S.C. § 366
19
19
20      Affects both Debtors                          DATE:      June 10, 2022
20
                                                      TIME:      10:00 a.m.
21
21     Affects TRX Holdco, LLC only                   PLACE:     *Via ZoomGov
                                                                 Courtroom 5C
22
22      Affects Fitness Anywhere, LLC only                       411 West Fourth Street
                                                                 Santa Ana, CA 92701
23
23
24
24
25
25
26
26
27
27
28
28


                                                  1
     Case 8:22-bk-10948-SC          Doc 36 Filed 06/10/22 Entered 06/10/22 13:31:40                Desc
                                     Main Document Page 2 of 3


11            A hearing was held on June 10, 2022, at 10:00 a.m. (Pacific Time) to consider Fitness

22   Anywhere LLC’s Emergency Motion For Entry Of An Order Authorizing Fitness Anywhere, LLC

33   To Provide Adequate Assurance Of Future Payment To Utility Companies Pursuant To 11

44   U.S.C. § 366 [Dkt. 15] (the “Motion”)1 filed by Fitness Anywhere LLC (“Product Co”), one of

55   the debtors in possession in the above-captioned, jointly-administered Chapter 11 bankruptcy

66   cases. Appearances were made as set forth on the record of the Court.

77            The Court, having considered the Motion and all papers filed by Product Co in support of

88   the Motion, the oral arguments and statements of counsel made at the hearing on the Motion,

99   proper notice of the Motion and the hearing on the Motion having been provided, no opposition
10
10   to the Motion having been filed or stated at the hearing on the Motion, and for good cause
11
11   shown,
12
12            HEREBY ORDERS that:
13
13            (1)     The Motion is granted.
14
14            (2)     Product Co is authorized to provide adequate “assurance of payment” to the
15
15   Utility Companies in the form of Cash Deposits in the amounts set forth in Exhibit 1 attached to
16
16   the Declaration of Mark Reis filed in support of the Motion;
17
17            (3)     The Cash Deposits paid by Product Co to the Utility Companies are hereby
18
18   deemed to constitute adequate “assurance of payment” pursuant to Section 366(c) of the
19
19   Bankruptcy Code.
20
20   ///
21
21   ///
22
22   ///
23
23   ///
24
24   ///
25
25   ///
26
26
27
27
     1
28
28       Capitalized terms not otherwise defined herein have the same meanings as in the Motion.



                                                      2
     Case 8:22-bk-10948-SC       Doc 36 Filed 06/10/22 Entered 06/10/22 13:31:40            Desc
                                  Main Document Page 3 of 3


11          (4)    Each Utility Company that receives a cash deposit under this order shall return

22   such cash deposit to the Debtor within ten (10) business days if, and when, the Utility

33   Company’s services are terminated by Product Co.

44          IT IS SO ORDERED.

55                                               ###

66

77

88

99
10
10
11
11
12
12
13
13
14
14
15
15
16
16
17
17
18
18
19
19
20
20
21
21
22
22
23
23
24
24        Date: June 10, 2022

25
25
26
26
27
27
28
28


                                                  3
